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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 BINANCE HOLDINGS LIMITED,                      Civil Action No. 2:20-cv-16398

                          Plaintiff,
                                                NOTICE OF VOLUNTARY DISMISSAL
                 v.                             OF DEFENDANTS

 FORBES MEDIA LLC,                              Filed Electronically
 MICHAEL DEL CASTILLO and
 JASON BRETT,

                          Defendants.


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


         Plaintiff Binance Holdings Limited, by and through its undersigned counsel and pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby gives notice of its voluntarily dismissal

without prejudice of the above-captioned action against Defendants Forbes Media LLC, Michael

del Castillo and Jason Brett.



Dated: February 4, 2021                      Respectfully Submitted,


                                             By: s/Peter J. Pizzi
                                             Peter J. Pizzi
                                             Selina M. Ellis
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                                             Counsel for Plaintiff Binance Holdings Limited

2/4/21

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